      Case 5:18-cv-05062-EJD Document 313 Filed 04/28/23 Page 1 of 3



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17   Interim Co-Lead Class Counsel
                               UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19
                                       SAN JOSE DIVISION
20

21   IN RE: GOOGLE LOCATION HISTORY                Case No. 5:18-cv-05062-EJD-NC
     LITIGATION
22                                                 JOINT STATUS REPORT
                                                   RE SETTLEMENT
23
                                                   Dept:      Courtroom 5 – 4th Floor
24                                                 Judge:     Hon. Nathanael Cousins

25                                                 Date Filed: November 2, 2018

26                                                 Trial Date: None Set

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                               JOINT STATUS REPORT RE SETTLEMENT
                                    Case No. 5:18-cv-05062-EJD-NC
     2132850
      Case 5:18-cv-05062-EJD Document 313 Filed 04/28/23 Page 2 of 3



 1             The parties have settled this dispute, subject to Court approval. Yesterday afternoon, the

 2   parties reached agreement on all material terms and executed a final term sheet. The parties have

 3   agreed that they will finalize and execute a full-form settlement agreement within 30 days (i.e.,

 4   by May 30, 2023). Plaintiffs have committed to filing a motion for preliminary settlement

 5   approval within 30 days of that (i.e., before or by June 29, 2023).

 6             In light of the settlement, the parties jointly request that the Court vacate:

 7             1.     The April 28, 2023 and June 2, 2023 deadlines for joint status reports;

 8             2.     Google’s May 1, 2023 deadline to respond to Plaintiffs’ Fifth Set of Requests for

 9                    Production, see ECF No. 310;

10             3.     The upcoming May 3, 2023 hearing on ECF No. 293; and

11             4.     The May 3, 2023 and June 7, 2023 status conferences, see generally ECF No. 292.

12             The parties will file a separate stipulation and proposed order requesting that the Court

13   stay all discovery and vacate all other (non-settlement-related) deadlines.

14             The parties thank the Court for its significant and valuable assistance in this matter over

15   the past two years.

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18   Dated: April 28, 2023                                      KEKER, VAN NEST & PETERS LLP

19
                                                        By:     /s/ Benjamin Berkowitz
20                                                              BENJAMIN BERKOWITZ
                                                                THOMAS E. GORMAN
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                                      JOINT STATUS REPORT RE SETTLEMENT
                                           Case No. 5:18-cv-05062-EJD-NC
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      Case 5:18-cv-05062-EJD Document 313 Filed 04/28/23 Page 3 of 3



 1   Dated: April 28, 2023                                    LIEFF CABRASER HEIMANN &
                                                              BERNSTEIN, LLP
 2

 3                                                    By:     /s/ Michael W. Sobol
 4                                                            MICHAEL W. SOBOL
                                                              MELISSA GARDNER
 5                                                            MICHAEL LEVIN-GESUNDHEIT
                                                              MICHAEL K. SHEEN
 6                                                            JALLÉ H. DAFA
                                                              JOHN D. MAHER
 7
                                                              Interim Co-Lead Class Counsel
 8

 9   Dated: April 28, 2023                                    AHDOOT & WOLFSON, PC
10

11                                                    By:     /s/ Tina Wolfson
                                                              TINA WOLFSON
12                                                            THEODORE W. MAYA
                                                              BRADLEY K. KING
13                                                            HENRY J. KELSTON

14                                                            Interim Co-Lead Class Counsel

15

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19
20                                              ATTESTATION
21             Pursuant to Civil Local Rule 5.1 regarding signatures, I attest that concurrence in the

22   filing of this document has been obtained from the other signatories.

23
     Dated: April 28, 2023                                   /s/ Benjamin Berkowitz
24                                                           Benjamin Berkowitz
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                                     JOINT STATUS REPORT RE SETTLEMENT
                                          Case No. 5:18-cv-05062-EJD-NC
     2132850
